Case 3:17-cv-00146-SDD-RLB Document1 03/15/17 Page lof5

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

CARA OETJENS CIVIL ACTION NO.
VERSUS

BJ’S RESTAURANT OPERATIONS
COMPANY AND BJ’S RESTAURANT, INC.

 

COMPLAINT

 

NOW INTO COURT, through undersigned counsel, comes plaintiff, CARA OETJENS,
who is a person of the full age of majority and who is a citizen of, and domiciled in, the State of
Louisiana, and who respectfully represents as follows:

1.
MADE DEFENDANTS HEREIN ARE:

A. BJ’S RESTAURANT OPERATIONS COMPANY, a California corporation, which
is authorized to do, and which is doing business, in the State of Louisiana and which
can be served with summons and citation at 3867 Plaza Tower Drive Baton Rouge,
Louisiana 70816; and

B. BJ’S RESTAURANTS, INC., a California corporation, which is authorized to do, and
which is doing business, in the State of Louisiana and which can be served with
summons and citation at 3867 Plaza Tower Drive Baton Rouge, Louisiana 70816.

2.

Cara Oetjens is a citizen of the State of Louisiana. Both defendants are citizens of the State
of California. As such, this court is a court of proper jurisdiction pursuant to 28 U.S.C. § 1332 and
proper venue pursuant to 28 U.S.C. §1391 based upon complete diversity of citizenship between

the parties and that damages claimed exceed, exclusive of costs and interest, SEVENTY-FIVE

thousand dollars ($75,000.00).

Page | of 5
Case 3:17-cv-00146-SDD-RLB Document1 03/15/17 Page 2of5

a.

On or about April 24, 2016, Oetjens was a patron of the BJ’s restaurant located in Baton
Rouge, Louisiana, which, based upon information and belief, is owned, operated, licensed or
franchised by one or all of the defendants.

4.

While dining at the aforementioned BJ’s restaurant on April 24, 2016, Oetjens, in a careful
and prudent manner, proceeded from her dining table to the restrooms which were located near the
rear of the restaurant. On her way from the restroom back to her table, Oetjens suddenly,
unexpectedly and without warning slipped on an unreasonably dangerous substance on the
restaurant floor. Based upon information or belief, the unreasonably dangerous liquid was either
soda, water, other beverage, or ice, or a combination thereof which had been left on the floor from
the spills of previous patrons or the BJ’s wait staff.

5;

The unreasonably dangerous liquid remained on the floor for such a period of time that the
employees of the BJ’s restaurant knew, or should have known, of its presence on the floor thereby
providing sufficient time for them to clean the liquids from the floor thus removing the danger
posed to patrons.

6.

The aforementioned defendants are liable unto petitioner, jointly and in solido, for their
own negligence pursuant to La. C.C. art. 2315 and are strictly liable for the things under the care,
custody and control, to-wit: the floor of the BJ’s restaurant, pursuant to La. C.C. art. 2317 and La.

Cut, art..2322,

Page 2 of 5
Case 3:17-cv-00146-SDD-RLB Document1 03/15/17 Page 3o0f5

7.

Alternatively, the aforementioned defendants breached their duties of care owed to
petitioner for following non-exclusive breaches of prudent conduct:

A. Failing to take all necessary and reasonably prudent measures to notify or warn
patrons of the unreasonably dangerous liquid present on the restaurant floor;

B. Placing or allowing to be placed an unreasonably dangerous liquid or foreign
substance on the walkways of the premises;

C. Failing to take reasonably prudent measures to clean or otherwise remove the
dangerous substance from the walkways of the premises;

D. Failing to re-route aisle traffic away from the hazard despite having knowledge of
the presence of the unreasonably dangerous substance;

E. Failure to provide sufficient and adequate lighting;

F. Knowingly diverting the attention of and purposefully distracting customers with
product displays and a mirage of televisions; and,

G. Any and all other acts of negligence and omissions which may be discovered and
shown at the time of trial of this matter.

8.

Due to the above-described incident, plaintiff, Cara Oetjens, suffered permanent, painful
and disabling injuries including, but not limited to the following non-exclusive list of physical
injuries:

A. A posterior partial-thickness annular tear of the L3-L4 intervertebral disc of the

lumbar spine resulting in a 2 mm posterior bulge;

Page 3 of 5
Case 3:17-cv-00146-SDD-RLB Document1 03/15/17 Page 4of5

B. A posterior annular tear of the L4-L5 intervertebral disc of the lumbar spine
resulting in a 3.5 mm bulge with patterns of edema and hemorrhage;

C. A posterior full-thickness annular tear and herniation of the L5-S1 intervertebral
disc of the lumbar spine accompanied by a subligamentous extrusion of 5mm and
bilateral nerve root impingement;

D. Lumbar lordosis consistent with trauma and muscle spasms;

E. Contusions and soreness of the right knee resulting in limited range of motion and
severe pain and discomfort;

F. Contusions and soreness of the buttock region resulting in severe pain and
discomfort.

9.

In addition to the aforementioned physical injuries, plaintiff has suffered permanent, severe
and disabling psychological injuries as a result of the afore-described incident more particularly
described as follows:

A. Fear,

B. Anxiety,

C. Depression; and,

D. Post-traumatic stress disorder.

10.

As aresult of the physical and psychological injuries caused a direct and proximate result
of the aforementioned acts of negligence, fault and/or wanton and reckless behavior, CARA
OETJENS claims damages, in an amount which is just and reasonable in the premises, for:

A. Past, present and future physical pain and suffering,

Page 4 of 5
Case 3:17-cv-00146-SDD-RLB Document1 03/15/17 Page5of5

mS

Past, present and future psychological pain and suffering,

Past, present and future mental pain and anguish;

5 9

Past, present and future loss of wages;

&

Past, present and future loss of earning capacity,
F. Past, present and future loss of enjoyment of life;
G. Past, present and future medical expenses; and,
H. Judicial interest from the date of demand and all costs of court.
11.

Petitioner prays for trial by jury.

WHERFORE, complainant, CARA OETJENS, prays that after notice and service of
these pleadings, and after due proceedings are had, that a judgment be rendered in her favor and
against defendants, BJ’S RESTAURANT OPERATIONS COMPANY and BJ’S
RESTAURANTS, INC., for all due and just damages as are allowed by law as well as costs, legal

interests and attorney’s fees.

Baton Rouge, Louisiana, this 15"" day of March, 2017.

RESPECTFULLY SUBMITTED,

/s/Scott M. Hawkins
HAWKINS OETJENS, LLC
Scott M. Hawkins LSBA 27498
4980 Bluebonnet Boulevard, Suite A
Baton Rouge, Louisiana 70809
225-935-2222 (tel)
225-319-5996 (fax)
scott@hawkinsoetjens.com

Page 5 of 5
